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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE:                                        )
                                              )
JASON BRYAN ORLOPP                            )              CASE NO. 19-00543-RLM-7
                                              )
         Debtors                              )

     AMEND MOTION TO STRIKE INADVERTANTLY FILED CHAPTER 7
                           PETITION

         Comes now the Debtor, Jason Bryan Orlopp, by counsel, and hereby filed this

Motion to Strike Inadvertently Filed Chapter 7 Petition of the Chapter 7 Petition under

Case No. 19-00543-RLM-7 as counsel for Debtor inadvertently filed the wrong client’s

case in error. Counsel was filing another Debtor’s Chapter 7 Bankruptcy Petition on this

date and inadvertently filed Debtor, Jason Bryan Orlopp’s Petition in error.

         WHEREFORE, Debtor, Jason Bryan Orlopp, by and through counsel respectfully

moves the Court to strike the inadvertently filed Chapter 7 Petition under Case No 19-

00543, if allowed, and all other relief that the Court deems appropriate in this matter.


                                              Respectfully submitted,

                                               /s/ D.J. Davis

                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of this foregoing pleading has been served upon the below

named parties by electronic mail on this 31th day of January 2019:

Gregory K. Silver
trusteegksilver@yahoo.com,
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                                                /s/ D.J. Davis
                                                D.J. Davis

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